      Case 1:25-cr-00001-SPW-TJC     Document 14     Filed 01/21/25   Page 1 of 2



                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                            BILLINGS DIVISION


UNITED STATES OF AMERICA,                         CR 25-01-BLG-SPW-TJC

                     Plaintiff,
                                                   FINDINGS AND
vs.                                                RECOMMENDATION OF
                                                   U.S. MAGISTRATE JUDGE
NORMAN VERNELL MITCHELL,

                     Defendant.


        The Defendant, by consent, appeared before me under Fed. R. Crim. P. 11

and entered a plea of guilty to the Information, which charges the crime of assault

by striking, beating, or wounding, in violation of 18 U.S.C. §§ 1153 and 113(a)(4).

        After examining the Defendant under oath, the Court determined:

        1.    That the Defendant is fully competent and capable of entering an

informed and voluntary plea to the criminal offense charged against him;

        2.    That the Defendant is aware of the nature of the charge against him

and the consequences of pleading guilty to the charge;

        3.    That the Defendant fully understands his pertinent constitutional

rights and the extent to which he is waiving those rights by pleading guilty to the

criminal offense charged against him; and

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    Case 1:25-cr-00001-SPW-TJC       Document 14      Filed 01/21/25   Page 2 of 2



        4.    That his plea of guilty to the criminal offense charged against him is

knowingly and voluntarily entered, and is supported by independent factual

grounds sufficient to prove each of the essential elements of the offense charged.

        The Court further concludes that the Defendant had adequate time to review

the Plea Agreement with counsel, that Defendant fully understands each and every

provision of the agreement and that all of the statements in the Plea Agreement are

true.

        Therefore, I recommend that the Defendant be adjudged guilty of the charge

in the Information and that sentence be imposed.

        Objections to these Findings and Recommendation are waived unless filed

and served within fourteen (14) days after the filing of the Findings and

Recommendation. 28 U.S.C. § 636(b)(1)(B); Fed. R. Crim. P. 59(b)(2).

        DATED this 21st day of January, 2025.

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                                        TIMOTHY J. CAVAN
                                        United States Magistrate Judge




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